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SOUTHERN DISTRICT OF MISSISSIPPI

UNITED STATES DISTRICT COURT Alig ~5 2079 |

 

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FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
NORTHERN DIVISION

 

  

IN THE MATTER OF AN APPLICATION ) APPLICATION FOR AN
BY THE UNITED STATES OF AMERICA) ADMINISTRATIVE SEARCH WARRANT
FOR AN ADMINISTRATIVE SEARCH _ ) .

WARRANT PURSUANT TOTITLE8, )  MISCNo. 3'IQM yao LRA
UNITED STATES CODE. SECTION 1357_)

UNDER SEAL
TO SEARCH THE PREMISES:

KOCH FOODS OF MISSISSIPPI, LLC
108 Morris Tullos Dr.
Morton, MS 39117

The United States applies, pursuant to Section 287 of the Immigration and Nationality
Act of 1952, as amended (the Act), 8 U.S.C. § 1357, for a civil administrative search warrant
authorizing agents of the U. S. Department of Homeland Security, Homeland Security
Investigations ("HSI") to enter the premises known as KOCH FOODS OF MISSISSIPPI, LLC,
108 Morris Tullos Dr., Morton, MS 39117, See Attachment A for a more particularized
description. HSI seeks to enter those premises to search for persons believed to be aliens in the
United States without legal authority, and to take such actions, with respect to those aliens, as are
authorized by the Act, See Attachment B. Section 287 of the Act, for example, provides that
"any officer or employee of HSI authorized under regulations prescribed by the Attorney
General" has the power, infer alia:

(1) to interrogate any alien or person believed to be an alien as to his right to be
or to remain in the United States:

(2) ... to arrest any alien in the United States, if he has reason to believe that the
alien so arrested is in the United States in violation of any ... law or

regulation [regulating the admission, exclusion, or the expulsion of aliens] and
is likely to escape before a warrant can be obtained for his arrest...

The facts and circumstances underlying the United States' application are set forth in the
accompanying Affidavit of HSI Special Agent Anthony Todd Williams, Jr. in Support of an
Application for Administrative Search Warrant (“Affidavit").

The Court should grant the United States' application because the United States has
satisfied all of the requirements for a civil administrative search warrant. The requirements for
the issuance of a civil order authorizing entry on premises to search for illegal aliens are set
forth in Blackie's House of Beef, Inc. v. Castillo, 659 F.2d 1211 (D.C. Cir. 1981), cert. denied,
455 U.S. 940 (1982), the leading case on the subject. The Blackie's court began its analysis by

 
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finding that the HSI has the right, derived primarily from Sections 103(a) and 287 of the Act, 8
U.S.C. § 1103(a) and 1357, to enter commercial premises, with a warrant, to search for suspected
violators of the immigration laws. Jd. at 1219-22. The court, following Marshall v. Barlow's,
Inc., 436 U.S. 307, 320 (1978), then held that the quantum of "probable cause" necessary to
support a civil warrant is less than that required for a criminal warrant. Jd., at 1222-25. See

also International Molders & Allied Workers’ Local Union v. Nelson et al., 799 F.2d 547, 552

(9 Cir. 1986), Kotler Industries v. INS, 586 F. Supp. 72, 74 (N.D. Ill. 1984).

Under the "more flexible definition of probable cause" applied in the civil context, the
United States may obtain a civil administrative warrant by showing specific evidence of an
existing violation or that the inspection will be conducted according to reasonable legislative
or administrative standards. See Blackie's, 659 F.2d at 1222-25. In Blackie's, the INS satisfied
the flexible probable cause standard by submitting specific evidence that violations were
occurring on the premises to be searched. See id., at 1226-27.

The Affidavit, attached hereto, presents specific evidence that violations of the
immigration laws have occurred and are occurring on the premises at KOCH FOODS OF
MISSISSIPPI, LLC, 108 Morris Tullos Dr., Morton, MS 39117. Based on this information,
Agent Williams has concluded that there are aliens unlawfully in the United States currently
employed at KOCH FOODS OF MISSISSIPPI, LLC. Agent Williams has also concluded, based
on his experience as an HS] investigator and based on his training, that other illegal aliens, not
specifically identified, are likely to be employed with KOCH FOODS OF MISSISSIPPI, LLC.

The Affidavit satisfies the standard set forth in Blackie's, as it suggests "that
numerous persons working in nonpublic areas of KOCH FOODS OF MISSISSIPPI, LLC are
possibly illegal aliens, and gives credible reasons for the affiant's suspicions as well." Blackie’s,
659 F.2d at 1226.

The warrant identifies the employer and the specific employer location affected, and is
restricted to remain valid for no more than ten (10) regular workdays from the date of
authorization. It specifies that the search can be executed only between 6:00 a.m. to 6:00 p.m.
See id., at 1226-27.

The purpose of the present application is to obtain authority to search the premises
described in Attachment A. The authority of the HSI to obtain and/or arrest aliens suspected of
being in the United States illegally is established by statute and case law. During execution of a
civil administrative search warrant such as the one requested, agents may engage in systematic
consensual questioning of employees. JNS v. Delgado, 466 U.S. 210, 216-19, 104 8.Ct. 1758,
1762-65 (1984). Agents may detain a person absent valid seizure or arrest warrants or valid
exigent circumstances, only if they possess reasonable, articulable and individualized suspicion
of violations of immigration or criminal law. Violations of immigration law will include: (1) a
person's illegal alienage, or (2) an alien's failure to carry on his or her person immigration
documents required by law to be carried. Persons who claim to have immigration documentation,
but not in their possession, may be detained only if such detention "lasts only so long as is
necessary to carry out its purpose and the investigative methods used [are] the least intrusive
means readily available to confirm or dispel the officer's suspicion." Martinez v. Nygaard, 831
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F.2d 822, 827 (9th Cir. 1987).

Agents may also make warrantless civil immigration arrests of aliens unlawfully present
in the United States. Such arrests, however, must be based on probable cause. The agent also
must have reason to believe that subjects are "likely to escape before warrant[s] can be obtained
for [their] arrest." INA § 287(a)(2), 8 U.S.C. § 1357(a)(2).

Accordingly, the United States, having shown probable cause to believe that violations of
the immigration laws are occurring at KOCH FOODS OF MISSISSIPPI, LLC, respectfully
requests that its application be granted, and that the court issue the civil administrative warrant
that it seeks.

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This the’? day of August, 2019.

Respectfully submitted,

D. MICHAEL HURST, JR.
UNITED STATES ATTORNEY

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